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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF MISSOURI
                                        AT KANSAS CITY

IN RE:                                                    )
                                                          )
INTERSTATE UNDERGROUND WAREHOUSE                          )       Case No. 21-40834-DRD
AND INDUSTRIAL PARK, INC.                                 )       Chapter 11
                                                          )
                  Debtor.                                 )

                               NOTICE OF RULE 2004 EXAMINATION

TO:        Stacy Reeder Robinson

           PLEASE TAKE NOTICE that Stacy Reeder Robinson is to appear for examination in accordance
with the Federal Rules of Bankruptcy Procedure 2004 in the offices of counsel for Interstate Underground
Warehouse and Industrial Park, Inc., remotely via Veritext Legal Solutions on January 12, 2022 at
1:30pm (central time).      The examination may continue from day to day until completed and will be
stenographically recorded by a certified court reporter.      The scope of the examination shall be as
described in Fed R. Civ. P. 26 and 30 and as further described in the attached areas of inquiry.
           The undersigned counsel hereby certifies that the proposed examination date is more than seven
days from the date of this Notice in compliance with LBR 2004.1

                                                  Respectfully Submitted:

                                                  EVANS & MULLINIX, P.A.


Dated: 1/04/2022                                  /s/ Colin N. Gotham
                                                  Colin N. Gotham, KS #19538; MO #52343
                                                  7225 Renner Road, Suite 200
                                                  Shawnee, KS 66217
                                                  (913) 962-8700; (913) 962-8701 (Fax)
                                                  cgotham@emlawkc.com
                                                  Attorneys For Creditor, Wayne Reeder




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                                     CERTIFICATE OF SERVICE

         I, Colin N. Gotham, hereby certify that on this 4th day of January 2022, a true and correct copy of
the foregoing Notice of 2004 Examination was served electronically to Debtor’s counsel, and the
interested parties registered to receive ECF notification from the court, and served by U.S. first-class
mail, postage prepaid, to:

Stacy Reeder Robinson
32130 Harbor View Lane
Westlake Village, CA 91361



                                                 /s/ Colin N. Gotham
                                                 Colin N. Gotham




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